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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                     CASE NO: 8:01-CR-445-T-30MAP

JOSEPH McBRIDE
____________________________________/

                                               ORDER

       THIS CAUSE comes before the Court upon Petitioner's Motion to Vacate, Set Aside
or Correct Sentence Under 28 U.S.C. § 2255 (Dkt. #286). According to procedure, the Clerk
opened a corresponding civil case file pursuant to the instant petition: Joseph McBride v.
United States of America, Case No. 8:04-cv-1876-T-30MAP. Pursuant to the pending
civil case, it is not necessary to keep the motion pending in the criminal case file. It is
therefore
       ORDERED AND ADJUDGED that:
       1.      The Clerk is directed to terminate the Petitioner's Motion to Vacate, Set Aside
or Correct Sentence Under 28 U.S.C. § 2255 (Dkt. #286) in the instant criminal action.
       2.      All parties are directed to use the civil case number on all subsequent filings
pertaining to Petitioner's Motion to Vacate.
       3.      Petitioner's Motion to Vacate, Set Aside or Correct Sentence Under 28 U.S.C.
§ 2255 remains under consideration by the Court in the civil file.
       DONE and ORDERED in Tampa, Florida on June 28, 2005.




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Counsel/Parties of Record

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